   Case 1:15-cv-00064-P-BL Document 8 Filed 06/17/15                  Page 1 of 2 PageID 51


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 ABILENE DIVISION

 ALAIN CASTILLO and                             §
 JESSICA CASTILLO,                              §    CIVIL ACTION NO.: 1:15-CV-00064-P
                                                §
 Plaintiffs,                                    §
                                                §
 V.                                             §
                                                §    JURY DEMAND
 STATE FARM LLOYDS                              §
                                                §
 Defendant.                                     §

                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiffs Alain and Jessica Castillo and Defendant State Farm Lloyds hereby stipulate to

the voluntary dismissal with prejudice of this matter, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii). Therefore, Plaintiffs’ claims against Defendant State Farm Lloyds are hereby

dismissed with prejudice, with each party to bear its own costs, if any.

        SO STIPULATED, this the 17th day of June 2015.

                                              Respectfully submitted,

                                              /s/ Clayton Hardin*
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JOINT STIPULATION OF DISMISSAL WITH PREJUDICE – Page 1
2199772v2
10578.131
   Case 1:15-cv-00064-P-BL Document 8 Filed 06/17/15               Page 2 of 2 PageID 52



                                           And

                                           /s/ Rhonda J. Thompson
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                               CERTIFICATE OF SERVICE

        The undersigned certifies that on the 17th day of June 2015, the foregoing pleading was
delivered to the following counsel of record for Plaintiffs via electronic filing and email in
accordance with the Federal Rules of Civil Procedure:

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JOINT STIPULATION OF DISMISSAL WITH PREJUDICE – Page 2
2199772v2
10578.131
